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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RICHARD KADREY, et al.,                            Case No. 23-cv-03417-VC (TSH)
                                   8                    Plaintiffs,
                                                                                            DISCOVERY ORDER
                                   9             v.
                                                                                            Re: Dkt. No. 247
                                  10     META PLATFORMS, INC.,
                                  11                    Defendant.

                                  12
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 United States District Court




                                  13          In ECF No. 243, the Court ordered the parties to submit a joint discovery letter brief

                                  14   addressing every single issue that is outstanding concerning depositions. The parties filed that at

                                  15   ECF No. 247. The Court now rules as follows.

                                  16   A.     Meta’s Motion for a Protective Order
                                  17          Meta moves for a protective order to bar or limit the deposition of Chris Cox, its Chief

                                  18   Product Officer, citing the apex doctrine. Plaintiffs dispute that Cox is an apex witness. Meta’s

                                  19   argument that Cox is an apex witness consists of the following: “Mr. Cox is Meta’s Chief Product

                                  20   Officer, a C-level executive of the company listed among Meta’s five senior-most ‘Executives’ –

                                  21   along with Meta’s CEO, President of Global Affairs, Chief Financial Officer, and Chief Operating

                                  22   Officer.” That sentence then drops a footnote, which cites https://about.meta.com/media-

                                  23   gallery/executives/.

                                  24          The Court has reviewed that web page. It lists 25 executives, 11 of whom have the word

                                  25   “chief” in their title. Thus, there appear to be 11 C-level executives at the company. Meta’s

                                  26   argument that Cox is “listed among Meta’s five senior-most” executives assumes, without actually

                                  27   saying this, that the web page lists the executives in descending order of seniority. The Court sees

                                  28   that the first row on the page appears to be organized that way, with the founder and CEO listed
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                                   1   first, then the president of global affairs, and then the chief financial officer. But to believe that

                                   2   the rest of the page lists everyone else in descending level of seniority requires believing that a

                                   3   vaguely titled “senior fellow” is more senior than the head of Facebook, the head of WhatsApp,

                                   4   and the head of Instagram. The Court is therefore unwilling to assume that this web page in fact

                                   5   lists the executives that way, which means there is no reason to assume Cox is one of Meta’s five

                                   6   senior-most executives. Further, aside from the senior fellow, every executive listed on this web

                                   7   page has an impressive title – they all sound important. But the Court is skeptical that Meta has

                                   8   two dozen apex witnesses.

                                   9            Normally an apex motion says something about the witness’s responsibilities within the

                                  10   company, including how many people report to him or her, and where this person sits in an org

                                  11   chart. Meta doesn’t provide any information like that. Meta actually provides zero information

                                  12   about what its Chief Product Officer does or who or what he oversees. The Court thinks Meta has
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                                  13   failed to show that Cox is an apex witness and therefore DENIES Meta’s motion for a protective

                                  14   order.

                                  15   B.       Plaintiffs’ Rule 30(b)(6) Deposition Notice
                                  16            Meta objects to topics 5, 11 and 12 in their entirety and objects to topics 4 and 8 as

                                  17   overbroad.

                                  18            1.     Topic 5
                                  19            Topic 5 is not proportional to the needs of the case. It is a huge detour into a large subject

                                  20   that has minimal relevance to this case. The Court QUASHES topic 5.

                                  21            2.     Topic 11
                                  22            Topic 11 might have been appropriate at an earlier stage in this case. But we’re 42 days

                                  23   away from the close of fact discovery. Taking a Rule 30(b)(6) deposition now into everything

                                  24   Meta did to identify and collect documents in response to Plaintiffs’ requests for production is not

                                  25   proportional to the needs of the case at this point. Discovery about discovery has to have a

                                  26   purpose. We’re not going to redo all of Meta’s document productions at this point. If Plaintiffs

                                  27   had a problem with Meta’s search terms, date ranges, metadata collection, and so on, those issues

                                  28   should have been raised a long time ago. The Court QUASHES topic 11.
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                                   1          3.      Topic 12

                                   2          Meta’s October 30, 2023 submission to the Copyright Office is essentially a legal brief,

                                   3   written from beginning to end by lawyers. Requiring Meta to put up a witness on “[t]he factual

                                   4   bases and any other supporting analysis” for that submission is not a good idea because nearly

                                   5   every question would be met with an instruction not to answer. The Court QUASHES topic 12.

                                   6          4.      Topic 4
                                   7          Topic 4 is fine as written. Meta is right that no human being can be expected to memorize

                                   8   all of the “discussions or deliberations” called for by this topic. The appropriate way to proceed is

                                   9   for Meta to educate its designee on the important or primary discussions or deliberations, and the

                                  10   Court will consider that sufficient. With that guidance, Meta’s overbreadth objection to topic 4 is

                                  11   OVERRULED.

                                  12          5.      Topic 8
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                                  13          Meta’s proposal as to topic 8 is acceptable. As drafted, topic 8 is impossible for Meta to

                                  14   comply with. Accordingly, Meta’s overbreadth objection to topic 8 is SUSTAINED.

                                  15   C.     Plaintiffs’ Requests Concerning Documents
                                  16          The Court declines to address any of Plaintiffs’ arguments concerning document

                                  17   productions. The Court requested briefing concerning the scheduling of depositions. If Plaintiffs

                                  18   believe that any of their arguments about documents are not time barred under the scheduling

                                  19   order, they may file a joint discovery letter brief and should explain why they think their

                                  20   arguments are timely.

                                  21   D.     Former Meta Employees
                                  22          For former employees that Plaintiffs want to depose and who are not represented by

                                  23   defense counsel, it’s reasonable to order the Defendant to provide the last known contact

                                  24   information so Plaintiffs can try to find the former employees and see if they will testify, unless

                                  25   doing so would be legally problematic. Meta says that providing contact information for

                                  26   Guillaume Lample, Edouard Grave and Aurelian Rodriguez would violate the GDPR because they

                                  27   are residents of France. Plaintiffs don’t seem to have a response. Meta does not identify a legal

                                  28   problem with providing Plaintiffs Susan Zhang’s contact information. Accordingly, the Court
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                                   1   ORDERS Meta to provide Plaintiffs with the last known contact information for Zhang and

                                   2   otherwise DENIES Plaintiffs’ request.

                                   3          IT IS SO ORDERED.

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                                   5   Dated: November 1, 2024

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                                                                                                THOMAS S. HIXSON
                                   7                                                            United States Magistrate Judge
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